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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


         I, Special Agent Ryan P. McKone, being duly sworn, hereby depose and state that the
 following is true to the best of my information, knowledge and belief:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent of the Bureau of Alcohol, Tobacco, Firearms and Explosives

 (ATF) and have been since March 2015. Prior to being employed by ATF, I was employed as a

 police agent with the City of Lakewood Police Department for 10 years. I was a patrol officer

 for 4 years and a detective assigned to the Major Crimes Unit for 6 years. I am a graduate of the

 Federal Law Enforcement Training Center, and the ATF National Academy in Glynco, Georgia.

 My primary duties involve the investigation of Federal firearm violations and their associated

 use in violent crime and narcotics violations. I am currently assigned by ATF to the Denver IV

 Field Office on special assignment to the Denver Police Department Homicide Unit, where I

 work jointly with sworn law enforcement officers of state and local agencies throughout the

 District of Colorado. During my law enforcement career, I have authored several search warrants

 and arrest warrants, production of records requests, and requested court orders for all matters of

 evidence, including but not limited to, real property, vehicles, persons, electronic information,

 website information, cellular phone information, vehicle tracks, and biological evidence.

        2.      As an ATF Special Agent, I am familiar with federal criminal laws pertaining to

 firearms, explosives and narcotics violations. I know that it is a violation of Title 18 USC §

 922(g)(5) for any person who is an alien in the United States illegally or unlawfully to possess a

 firearm or ammunition.

        3.      I assert that there is probable cause to believe Felix Missael ALVA, date of birth

 10/22/1990, has violated 18 U.S.C. § 922(g)(5)(a) (possession of firearm/ ammunition by a


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 person illegally or unlawfully in the United States). The statements set forth in this affidavit are

 based upon my training and experience, consultation with other experienced investigators,

 agents, and other sources of information related to this and other firearms investigations. This

 affidavit is intended to set forth probable cause in support of the criminal complaint and arrest

 warrant and does not purport to set forth all of my knowledge regarding this investigation.

                                        INVESTIGATION

        4.      Based upon my work in a current investigation, I am familiar with Felix Missael

 ALVA.


        5.      Starting on May 28, 2020, demonstrations occurred in Denver, CO in response to

 the George Floyd incident in Minneapolis, MN.        The demonstrations devolved in violent and

 destructive riots directed towards law enforcement, destruction of government property,

 businesses being burglarized, and large scale mayhem and civil unrest around downtown Denver.

 On May 30, 2020, Denver Police Department District 6 Narcotics Unit Detective Foster was

 working in a plain clothes capacity on the south side of 1450 Washington St, which is known to

 be in the City and County of Denver, in the State and Federal District of Colorado. Det. Foster

 was conducting physical surveillance of the active riots/ demonstrations. At approximately 2108

 hours as Det. Foster was walking westbound through the east/west alley on the south side of

 1450 Washington St. when a white Jeep Cherokee driving southbound on Washington St,

 stopped next to Det. Foster.


        6.      Det. Foster stood on the passenger side of the white Jeep Grand Cherokee and

 initially believed the license plate to be Colorado plate QEZ-060; it was later learned the plate is

 actually OEZ-060. The front passenger window of the vehicle was completely rolled down and


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 Det. Foster observed what he described as a “Hispanic male, approximately in this 30s with a

 medium to heavy build.” Det. Foster was not able to see or identify the driver. The male

 passenger looked at Det. Foster and stated “Hey homie!” Det. Foster turned to face the male

 passenger. Det. Foster estimated he was approximately 10 feet in distance from the Jeep. The

 male passenger told Det. Foster “This ain’t no peaceful protest, fuck twelve!” and referenced

 “pigs” as well. The slang terms “twelve” and “pigs” are in reference to law enforcement and

 typically used in a negative connotation.


        7.      The male passenger then produced a large black semi- automatic handgun and

 held it down beneath the window before beginning to tap the muzzle on the side of the Jeep's

 passenger door.


        8.      The male looked at Detective Foster and stated, "This ain't no peaceful protest."

 The male then began to point with his left hand upwards at the Denver Police Department

 helicopter, DPD Air1, which was flying just overhead, and mentioned that his firearm was for

 "them". Another pedestrian began to tell the male passenger to "Put your gun away!" however,

 the passenger instead replied, "Nah fuck that, this is for them!" before opening fire upwards into

 the air. Det. Foster observed that both the DPD Helicopter and the 9 News helicopter were

 overhead and in the proximity in which the male was firing the handgun. Det. Foster believed

 that the male was shooting towards the helicopters overhead. Det. Foster believed this based

 upon what the male had said prior to firing the handgun and where the male aimed the firearm.

 Det. Foster turned and began to run westbound towards Pearl Street out of fear of being shot and

 killed. Det. Foster heard approximately six (6) to ten (10) gun shots. Detective Roybal (13031)

 and Officer Gambone (16019) were on the east side of the Jeep during this shooting and


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 observed the passenger fire his weapon into the air. The driver of the Jeep sped off southbound

 then turned westbound on 14th Avenue (a one-way for eastbound traffic only).


        9.      Det.Foster contacted the Denver Police Department 911 communication center

 and inquired as to whether any citizens called to report the gunfire. Det. Foster learned that on 5-

 30-2020 at 2111 hours a resident, George Gwynn (7- 28-1962) called 911 to report gunfire at

 14th Avenue and Pearl Street. Det. Foster contacted Gwynn by phone then responded to his

 residence. Gwynn advised that he heard a large uproar and stepped out onto his second-story

 balcony to capture a video of the crowd for one of his out-of-state family members. Gwynn

 advised that he heard several gunshots coming from Washington Street. Gwynn reported that

 when the gunshots reached 14th Avenue he heard a projectile of some sort fly past his head.

 Gwynn stated that he observed a white Jeep turn the wrong way down 14th Avenue at which

 point numerous demonstrators were yelling at the driver to advise them. Gwynn believed the

 driver may have turned north onto Pearl Street. A written statement was collected from Gwynn.


        10.     Det. Foster queried license plate number QEZ-060 via law enforcement database

 "Lumen" and found that on 4-29-2020 at 1010 hours an Aurora Police Department license plate

 reader (LPR) scanned this plate near Havana Street and Del Mar Parkway. Det. Foster reviewed

 the photograph of the vehicle from the scan and observed that the license plate was attached to a

 white Jeep Grand Cherokee. However, other LPR photos came back showing this plate number

 associated with a white 2002 Chevrolet Van. Det. Foster provided LPR photos of the suspect

 vehicle to DPD Crime Analyst Horvat. Analyst Horvat examined the images and noticed that the

 first digit in the photo of the Jeep was O and not Q. Det. Foster concurred and suspected that he

 may have mis-read the license plate, as the Aurora PD LPR did as well. Det. Foster queried


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 OEZ060 and found that it is assigned to a 2014 white Jeep Cherokee and registered to AS of 910

 Nile Street. Det. Foster found this to be the same general area as the Aurora PD LPR misread.


        11.      Det. Foster searched the High Activity Location Observation (HALO) cameras

 and located the suspect vehicle at the following times and locations from directly before the

 shooting:


        x     2105:45 - Vehicle is westbound Colfax Avenue in the #1 lane at Gilpin Street.

        x     2106:34 - Vehicle is westbound Colfax Avenue in the #2 lane at Downing Street.

        x     2106:48 - Vehicle is westbound Colfax Avenue in the #1 lane at Corona Street.
              Detective Foster observed the front seat passenger standing up through the large
              sunroof of the vehicle who appears to be recording a video on his cell phone.

        x     2107:15 - Vehicle is westbound Colfax Avenue in the #1 lane at Emerson Street.

        x     2107:47 - Vehicle is westbound Colfax Avenue and merges into the left tum only lane
              for southbound Washington Street, and turns southbound into the 1400 block of
              Washington Street.

        12.      On June 2, 2020 at approximately 0815 hours, Det. Foster responded to 910 N.

 Nile Street and located a white Jeep Grand Cherokee in the driveway with Colorado license

 plates OEZ060. Det. Foster found that this appeared to be the same vehicle from which a male

 suspect opened fire with a handgun on 5-30-2020. Det. Foster authored a search warrant for the

 Jeep Grand Cherokee. On 6-2-2020 at 1041 hours a search warrant for the vehicle was issued by

 the Honorable Judge Zobel.


        13.      Det. Foster responded to 910 Nile Street in Aurora, CO with uniformed officers

 from the Denver and Aurora Police Departments. Det. Foster found the vehicle parked in the

 driveway. At Det. Foster's direction, the vehicle was impounded. Det. Foster knocked on the

 door of the residence to speak with the occupants inside. A female came to the door before

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 slamming it closed and engaging the locks. The female then went to the front window of the

 residence and opened it to speak with law enforcement. Det. Foster recognized this female from

 reviewing her DMV dossier photograph as AS, the registered owner of the vehicle. AS began to

 shout at Det. Foster that he was "violating [her] rights" and violating her "free speech". AS

 advised that she wanted to speak with Det. Foster, but emerged moments later with her cell

 phone recording a video and shouting.


        14.     AS’s Jeep was loaded onto the tow truck and escorted by Denver Police Det.

 Wingard to a secure vehicle processing bay at DPD Traffic Operations. Crime Scene Technicians

 from the Denver Crime Lab responded, captured digital photographs of the vehicle, and

 processed the vehicle for gunshot residue, latent prints, and DNA. Det. Foster observed anti-

 police protest signs in the rear seat area of the vehicle. Det. Foster also located a large box of

 artillery shell fireworks; the same type rioters were using to throw at police officers throughout

 the week.


        15.     Det. Foster returned to the District Six sub-station after the vehicle was processed.

 Det. Foster queried AS’s vehicle via DPD records. Det. Foster found that on October 13, 2020

 Felix ALVA GONZALEZ (dob: 10-22-1990) and Uriel Gonzalez (dob: 9-18-1994) were

 contacted inside the vehicle by officers in District 5 before Uriel Gonzalez was arrested for DUI

 and possession of a controlled substance (2019-654931). Det. Foster reviewed the body worn

 camera footage associated with this contact, specifically from Officer Jones (15087) as he spoke

 with ALVA. ALVA advised that the Jeep belonged to his wife, and he provided his address as

 910 N. Nile Street in Aurora, CO. Det. Foster recognized ALVA’s voice as sounding consistent




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 with the shooting suspect from 5-30-2020. Det. Foster observed that ALVA had an appearance

 consistent with the shooting suspect on 5-30-2020.


         16.    Det. Foster queried ALVA via Colorado DMV records and found that he does not

 have a driver's license but was assigned OLN 17-094-2034 and has an address listed as 910 N.

 Nile Street in Aurora, CO.


         17.    On June 04, 2020 at approximately 0615 hours the Aurora SWAT Team executed

 a search warrant of the residence at 910 Nile St, that Det. Forest had obtained. The residence was

 surrounded by SWAT members and the occupants were ordered out of the residence. Both Felix

 ALVA and AS exited the residence with their two small children. ALVA was detained in

 handcuffs due to the serious nature of the search warrant. Det. Foster approached ALVA and,

 upon seeing him in person, immediately recognized him with certainty as the individual who

 fired a handgun into the air on the evening of May 30, 2020, while two helicopters were

 overhead. Det. Foster heard ALVA speak and immediately recognized his voice as the same

 individual.


         18.    Det. Foster spoke with ALVA away from AS and the children. ALVA stated he

 wanted to talk to Det. Foster. Det. Foster advised ALVA of his Miranda Rights which he advised

 that he understood before agreeing to answer questions. Det. Foster asked ALVA if he lived at

 the residence, which he confirmed. Det. Foster asked ALVA what they did over the weekend at

 which time ALVA advised that they went fishing and "visited Denver." Det. Foster asked ALVA

 what they did on Saturday night and asked if they went to the protests downtown. ALVA advised

 that they did attend the protests, but could not remember if it was Friday or Saturday night.

 ALVA advised that he does not drive the Jeep, and rides as a passenger, and later stated that the

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 only people in the Jeep were he and his wife or "just us two." ALVA denied shooting a gun or

 owning a gun. Det. Foster asked ALVA if there were any firearms in the house. ALVA told Det.

 Forest to ask his wife.    ALVA denied firing any guns but stated that they were lighting off

 fireworks from the Jeep, though he denied throwing them at the police.


        19.     Once the residence was secured, officers and detectives began to walk around the

 residence and ensure that nobody was inside which SWAT may have missed. Ofc. Gonzalez

 observed an open shed in the back yard of the residence. The shed was large enough that

 numerous persons could be standing inside of it. Ofc. Gonzalez walked to the shed and observed,

 on a shelf on the south side of the shed, a box which she immediately recognized to be consistent

 with a "gun box", or the packaging that firearms are sold and/or stored inside. Ofc. Gonzalez was

 standing outside of the shed looking in through the open door when she observed the gun box.

 Det. Foster observed this same box, corroborated Ofc. Gonzalez's opinion that it appeared to be a

 firearm storage container and confirmed that the outbuilding was not included in the original

 search warrant. Det. Foster found that probable cause existed to believe that the outbuilding shed

 contained one or more of the listed items on the original search warrant. Det. Foster responded

 back to the District Six sub-station and added an addendum to the search warrant affidavit and

 search warrant to include this shed. This additional warrant was issued by the Honorable Judge

 James Zobel on 6-4-2020 at 0916 hours.


        20.     Inside of the shed officers located a Hi-Point Model JMP, .45 caliber handgun,

 serial number 4129745. ATF SA Timothy Pine confirmed that this weapon travelled in interstate

 commerce and was manufactured outside the Federal District of Colorado. This firearm was




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 later test fired for NIBIN testing purposes and found to function as designed and is capable of

 expelling a projectile by means of explosion.


          21.     As Det. Foster stood on a stool to capture digital photographs of the gun box in

 the shed, he turned to find the holster and cleaning kit concealed on the top wooden 2x4 on the

 north side of the shed. Det. Foster immediately recognized this Hi-Point to be the same gun he

 observed on May 30, 2020, and recognized several unique characteristics of the firearm.

 Specifically, Det. Foster recognized the sloped angle at the rear of the slide assembly behind the

 rear sight, and the large magazine base which protruded forward of the pistol's grip area.

 Detective Foster found that both of these characteristics are very unusual based on his experience

 with handguns.


          22.     Law enforcement records checks revealed that ALVA is not a native or citizen of

 the United States and that he has previously been deported from the United States. I, SA

 McKone, conferred with agents of Immigration and Customs Enforcement who reviewed

 ALVA’s immigration file and relevant databases. ICE agents confirmed that in 2010, ALVA

 was placed into removal proceedings before an Immigration Judge. He appeared detained in

 those proceedings and was ordered removed for being an alien inadmissible under Section 212 of

 the Immigration and Nationality Act. In February 2010, he was deported from the United States

 to Mexico pursuant to that removal order. ICE agents confirmed that ALVA has not made any

 lawful entries to the United States and on May 30, 2020, he was present in the United States

 illegally.




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                                         CONCLUSION

        23.    Based on the aforementioned information, probable cause exists to believe that on

 May 30, 2020, in the State and District of Colorado, the defendant, Felix Missael ALVA, an

 alien present in the United States illegally and unlawfully, did knowingly possess a firearm and

 ammunition in and affecting interstate commerce; in violation of Title 18, United States Code,

 Section 922(g)(5)(A).


 I, Ryan McKone, being duly sworn according to law, depose and say that the facts stated in this
 foregoing affidavit are true and correct to the best of my knowledge, information and belief.


                                                            s/Ryan P. McKone
                                                            Ryan P. McKone
                                                            ATF Special Agent



                                WK day of August, 2020.
        Sworn to before me this_____




 _________________________
            _
 The H
 Th  Hon. S
          Scott  T. V
              tt T  Varholak
                       h lk
 United States Magistrate Judge




 This affidavit was reviewed and is submitted by Dorothy DiPascali, Special Assistant
 United States Attorney.




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